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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

DEBORAH D. PETERSON,
Personal Representative
of the Estate of
James C. Knipple (Deceased), et a1

                    Plaintiffs

     v.                                      Civil Action# 1:01CV02094(RCL)

THE ISLAMIC REPUBLIC OF IRAN, et al.

                        Defendants


                    REPORT OF SPECIAL MASTER
                 PURSUANT TO ORDER OF REFERENCE
                CONCERNING COUNTS CCXXIX-CCXXXII


      In accordance with the Order of Reference entered pursuant to the

provisions of Federal Rule 53, the Special Master has received evidence with

regard to all issues of compensatory damages from witnesses as set forth below.

This is an action for wrongfbl death resulting fiom an act of state sponsored

terrorism on the part of the Defendants and their agents occurring on and prior to

the 23rd day of October 1983 at the Beirut, Lebanon United States Marine

Barracks.

      The following findings of fact are based upon the sworn testimony and

documents entered into evidence in accordance with the Federal Rules of

Evidence and have been established by clear and convincing documentary

evidence and testimony.
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 1. James Langon IV was born May 11, 1963, in the United States of America

and, as at birth, and so remained until his death, a citizen of the United States of

America.

 2. James Langon I11 has been duly appointed the personal representatives of

the estate of James Langon IV,deceased, for the purpose of this lawsuit.

 3. On October 23, 1983, the Decedent was a member of the United States

Marines having enlisted on July 20, 1981, and was stationed in Beirut, Lebanon.

 4. On October 23, 1983, the Marine Barracks building housing the Decedent's

Marine Battalion in Beirut was attacked by a suicide bomber who was driving a
truck which penetrated to the center of the building where the truck, which was

carrying a large quantity of explosives, detonated, collapsing the building resulting

in the deaths of 24 1 American personnel, including the Decedent.

  5. As a result of the explosion, Decedent, James Langon IV, suffered severe
injuries which resulted in his death.

  6 . The official service death certificate (report of casualty), admitted as an

official record and marked as exhibit "2" at the depositions held herein indicated

that the death of the Decedent was due to a terrorist attack at Beirut, Lebanon on

October 23, 1983.

 7. There is no evidence from which the Special Master can make a finding that

the Decedent suffered bodily pain or suffering as a result of his injuries.

  8. As a result of the death of James Langon IV, his estate suffered a loss of

accretions to the estate which could have been expected to occur during the course
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of his anticipated life. The said losses are the subject of a report under oath from

Dr. Jerome Paige and are supported by Dr. Paige's testimony given in this matter

by videotape. The report and the supporting calculations have been reduced by

Dr. Paige to present value in accordance with District of Columbia V. Barritaeu,

399 A. 2d5630.C. App. 1979). Based upon the foregoing, the amount of loss to

the estate is in the amount of One Million, Sixty Six Thousand, Nine Hundred and
      #
Three (1,066,903) Dollars as reduced to present value.

 9. As a result of the death of James Langon IV, his father has suffered and will

continue to suffer severe mental anguish and the loss of society. The testimony

has clearly established that he has never recovered from the shock of his loss. The

emotional trauma he sustained is permanent and significant.



James J. Langon 111

      James Langon I11 testified about the relationship he had with his son, James

Langon IV, and the effect this son's death has had on him.

      JamesI11 and his wife at the time separated when James IV was eight years

old. For most of the next decade, James IV spent the week with his mother and

the weekend with his father. When he was in high school, this pattern changed

because he had friends and was developing a social life of his own. James

attended two different elementary schools and attendedPiscataway High School,

where his mother was a teacher. His father was a teacher at another high school.

       James I11 describes his son as compassionate from an early age, caring
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especially about animals and the environment. The two liked to go camping on

the weekends. James made a point of taking his son to visit extended family as

well because he wanted his son to know that he still had extended family, even

though his immediate family was no longer intact.

      James believes his son's grades in high school were partially a rebellion

against his parents, who were both teachers. His son's grades did not reflect his

ability. James IV was, however, very talented musically. He had played the

trumpet from age nine and took private lessons in high school. James IV had good

friends in high school in the band. They played together during the summers as a

quartet. He and his best fiiend joined the service together, but his friend didn't

make it past Parris Island. He played in concert and marching band in high

school. James IV expressed interest in Johnson and Wales College. He wanted to

study cooking. Later on, he expressed interest as well in Monmouth College or

Rutgers.

      James IV had a tough time in high school. James I11 had taken his son to a

counselor who said James IV was looking for a connected family. James IV

pointed out to his father that the Marines are like a family in many respects. In

this context, James I11 understood his son's choice to join the Marine Corps, even

though he was not very happy with it. James IV joined the Marine Corps before

he got his high school diploma. He finished his GED while he was in Spain.

      James I11 was proud of his son. He had applied himself in boot camp and

had benefited for it. He was confident and appeared more grown up. aft^
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graduation, James IV went to the Mediterranean several times. He was sent to

Beirut in 1983. James I11 dreaded the thought of his son going to a war zone. He

wanted his son to audition for the Marine Corps Band. His son put it off again and

again and gave his father excuses. He finally told his father that he couldn't do it.

He didn't want to use his skills to get out of going to Beirut and leave his friends

to go into a dangerous situation. He felt like he would be deserting them. When

James I11 was in Beirut, one of the fleet bands played for his group. He wrote to

his father and said he could have hung with those guys.

       James' MOS was as a cook. In Beirut, James TV wrote to his family about

how the people in Lebanon loved the American troops. He also wrote about how

all the buildings in the city were bombed out. The different factions seemed to be

fighting over nothing and for no reason. As James pointed out, the people who

had started the conflict were all dead. In September, 1983, he wrote to his father

and described how he had seen one of his friends hit by a rocket. He wrote he had

learned about himself, but disapproved of their mission in Beirut. He felt that the

American Marines were dying for no real reason. He urged his father and

stepmother to have faith that he would come back alive.

       James urged his family to write to him and tell him about the good things

that were happening back home. He wanted to know that his family was alright

and that they were happy. James I11 enjoyed getting letters from his son.

Receiving those letters and the one time James IV found a phone booth in Greece

on R&R and called his parents were highlights for James 111.
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      James IV, writing to his grandmother, conveyed that he was living in a

bombed out Ramada Inn and it was very hot. He was bored. There was nothing to

do but work, sleep and ponder.

      James had fallen asleep in front of the TV on October 2znd,1983. When he

woke up the next morning, the news about the bombing was on. He had a horrible

feeling that something was wrong. He had to go to church and be godfather to his

brother's second child. Throughout the service, he was holding the small child

feeling like he was falling apart inside. Early the next morning, a Warrant Officer

from the Marine Corps knocked on his door and informed him that James IV was

dead. James screamed. James felt like he had been cut down the middle, bisected

with a large sword.

      For a long time, James felt like his life had no meaning. He felt like,

whoever he had been, he wasn't that person any more. He found it impossible to

g o back to work. He drank more than he had and started smoking again. When he

did go back to work, he found it helpfbl because it kept him occupied. He didn't

think about his son so much. James feels his son's death contributed to the end of

his second marriage. James had to agree with his wife that he wasn't emotionally

supportive after his son's death. He still feels withdrawn sometimes.

      After the bombing, James IV was the first casualty released in the New

York area. One of the other cooks in James IV's unit wrote to James I11 after the

bombing, explaining how he and James IV were close and how he had only

missed the bombing because he had been injured in a bombing earlier and was on
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the ship receiving medical treatment. James I11 received several condolence calls

fiom parents of other Marines after the bombing.

       James has participated in celebrations and remembrances such as the

dedication of the Beirut Veterans Memorial. It is painful to do so, but he feels it is

good for him and for the other parents.

       James had always felt, like his father and grandfather felt, a part of him

would outlive him in his son. He felt a part of himself died when James IV died in

Beirut. He always saw something of himself in his son. He feels any damages he

collects in this case will be inadequate as compensation to replace his son. No

amount of money can replace his son. He still carries the letters his son wrote him

fiom Beirut. He thought he lost them once and he felt irresponsible, like he was

letting his son down. He eventually found the letters and he cried. His son's

letters have far more value to him than any amount of money.



                            CONCLUSIONS OF LAW



1.     Wrongful Death.

       The Plaintiffs have provided comprehensive testimony from the expert, Dr.

Jerome Paige, clearly detailing the loss of accretions to the estate of each person.

These calculations are detailed and supported by the evidence set forth in the

report whose summary page is annexed to this report and have been established

pursuant to sound guidelines without question. The Special Master concludes as a
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matter of law that judgment should be entered for this element of damages for the

estate of James Langon IV in the amount of One Million, Sixty Six Thousand,
                         4
Nine Hundred and Three (1,066,903) Dollars.

2.     Survival Action-Pain and Suffering.

       There is no evidence fiom which the Special Master can conclude that the

Decedent endured bodily pain and suffering after the attack and prior to his death.

3.     Solatiurn

       The Foreign Sovereign Immunities Act provides for an award for solatium

consisting of emotional injury inflicted upon persons other than the decedent by

the actions of the Defendants andfortheir agents. The Court in the Flatow case

stated that this is an item of damages which belongs to the individual heirs

personally for the injuries to the feelings and the loss of the decedent's comfort,

support and society. The unexpected quality of death and its emotional impact

may be taken into consideration in gauging the emotional impact to those left

behind. In the present case, the impact upon the surviving family was profound

and is permanent. The Special Master concludes as a matter of law that Five

Million ($5,000,000) Dollars is an appropriate amount of compensation for James

Langon 111, father of the Decedent.
